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                                              January 15, 2020




VIA HAND DELIVERY

The Honorable Paul S. Diamond
United States District Court for the
  Eastern District of Pennsylvania
6613 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106

        Re:      Stein v. Boockvar. Civil Action No. 16-6287(PD)

Dear Judge Diamond:

        This firm represents Defendants Kathy Boockvar, Secretary of the Commonwealth,
and Jonathan Marks, Deputy Secretary for Elections and Commissions, in their official
capacities (together, "Defendants"). I write to notify the Court that lead counsel for
Defendants, Mark Aronchick, is attached this week for an arbitration hearing. Mr. Aronchick
will participate as lead counsel in the evidentiary hearing on Tuesday, January 21, 2020. I
will participate in tomorrow's telephone conference on behalf of Defendants, along with my
colleague, Christina Matthias.




cc:     llann M. Maazel, Esquire                                                 I
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                                                                                      • .,

        Douglas E. Lieb, Esquire
        Benjamin Field, Esquire
        Mark A. Aron chick, Esquire
        Christina C. Matthias, Esquire
        Joe H. Tucker, Esquire
        Dimitrios Mavroudis, Esquire
                (all via email)
